               Case 8:22-mj-00286-DUTY Document 2 Filed 04/20/22 Page 1 of 1 Page ID #:2
Submit this form by e-mail to:
                                                                                                    FILED - SOUTHERN DIVISION
                                                                                                   CLERK, U.S. DISTfiICT COURT
CrimIntakeCourtDocs-LAC~cacd.uscourts.gov For Los Angeles criminal duty.

CrimIntakeCourtDocs-SAl~cacd.uscourts.gov For Santa Ana criminal duty.                                    /~np n O
                                                                                                          ~i~~~r~ L
CrimIntakeCourtDocs-RS(a~cacd.uscourts.gov For Riverside criminal duty.

                                                                                                 CENTRAL DISTRICT OF CA~~F,".;:;~;;~.
                                                UNITED STATES DISTRICT COURT                     ~Y
                                              CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMBER: ~~ 22,- M J- Od~.~-~~'~
UNITED STATES OF AMERICA
                                                            PLAINTIFF       ~~~~ m~ ~'D~~
                     V.                                                                                (~~V'I1~

   ~~~Vv~ }-~,I~S~YI                                                             REPORT COMMENCING CRIMINAL
                                                                                                  ACTION
 USMS#                                                    DEFENDANT

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

 1• The defendant was arrested in this district on              ~2~                  at ~'.~~~AM ❑ PM
    or
    The defendant was arrested in the                        District of                 on                at            ❑ AM ❑ PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
    any other preliminary proceeding:             ~ Yes         ~No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):                ~es           ❑ No

4. Charges under which defendant has been booked:



5. Offense charged is a: '~ Felony                   ❑Minor Offense            ❑ Petty Offense          ❑Other Misdemeanor

6. Interpreter Required:          ~o          ❑Yes          Language:

7• Year of Birth:

8. Defendant has retained counsel:                ~ No
         Yes      Name: ~~G~.~'Zj                                                Phone Number: ~j~- ~~ — 2j~'~

9• Name of Pretrial Services Officer notified: ~~~ ~~~ v I I ~.Q9~cls

10. Remarks (if any):

11. Name:~~,e~ ~j~~ju~                                              (please print)

12. Office Phone Number: ~~•~~j• ~~j~                                                 13. Agency: ~l

14. Signature:                                                                        15. Date: 1.~~~1'~

CR-64                                             REPORT COMMENCING CRIMINAL ACTION
